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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO.: 05-588M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   CARLOS SERGIO SAMANIEGO-OCHOA, )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Methamphetamine

16 Date of Detention Hearing:     Initial Appearance December 8, 2005

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is charged by Complaint with a co-defendant with the offense of


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01 conspiracy to distribute in excess of 500 grams of a mixture or substance containing

02 methamphetamine.

03          (2)    Defendant was not interviewed by Pretrial Services. He is a native and citizen of

04 Mexico, believed to be in the United States illegally. An immigration detainer has been filed.

05          (3)    Defendant does not contest detention.

06          (4)    Defendant poses a risk of nonappearance due to lack of verified background

07 information, illegal status in the United States, and immigration detainer. He poses a risk of

08 danger due to the nature of the instant offense.

09          (5)    There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

11 to other persons or the community.

12 It is therefore ORDERED:

13          (1)    Defendant shall be detained pending trial and committed to the custody of the

14                 Attorney General for confinement in a correction facility separate, to the extent

15                 practicable, from persons awaiting or serving sentences or being held in custody

16                 pending appeal;

17          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

18                 counsel;

19          (3)    On order of a court of the United States or on request of an attorney for the

20                 Government, the person in charge of the corrections facility in which defendant is

21                 confined shall deliver the defendant to a United States Marshal for the purpose of

22                 an appearance in connection with a court proceeding; and


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01       (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02             counsel for the defendant, to the United States Marshal, and to the United States

03             Pretrial Services Officer.

04       DATED this 8th day of December , 2005.

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                                             A
                                             Mary Alice Theiler
                                             United States Magistrate Judge
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